Case 1:17-cv-20266-DPG Document 17 Entered on FLSD Docket 02/15/2017 Page 1 of 2

                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

 Steven M. Larimore                                                               400 North Miami Avenue, Room 8N09
 Court Administrator • Clerk of Court                                                       Miami, Florida 33128−7716
                                                                                                        (305)523−5100



                                              Date: February 15, 2017




 Attn: Civil Correspondence Clerk
 Clerk of Circuit and County Courts
 138 Dade County Courthouse
 73 West Flagler Street
 Miami, FL 33130


 RE: District Court Case No.: 1:17−cv−20266−DPG

      State Court Case No.: 17−cv−20266




 Dear Sir/Madam:

 Pursuant to 28 U.S.C. §1447, a certified copy of the District Court's Order of Remand must be mailed to

 to the Clerk of the State Court.


 Please acknowledge receipt of the Order in the above referenced case by signing and returning the enclosed

 copy of this letter.




 Steven M. Larimore, Clerk of Court

 By /s/ Crystal Barnes−Butler
 Deputy Clerk
Case 1:17-cv-20266-DPG Document 17 Entered on FLSD Docket 02/15/2017 Page 2 of 2

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                                                          Clerk's Acknowledgment of Receipt
                                                          The undersigned hereby ackonwledges receipt of the

                                                          District Court's certified copy of the Order of Remand.

                                                          By:_________________________________
                                                            Deputy Clerk

                                                          On:___________________



 Steven M. Larimore, Clerk of Court

 By /s/ Crystal Barnes−Butler
 Deputy Clerk
